                     Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 1 of 17


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ATTORNEYS AT LAW



                                                                                                 November 22, 2021

        VIA EMAIL
        Molly Gaston, Esq.
        Mary Dohrmann, Esq.
        United States Attorney’s Office
        555 4th Street, NW
        Washington, DC 20530

                    Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Counsel:

                Pursuant to Federal Rule of Criminal Procedure 16, the Jencks Act, Federal Rule of
        Evidence 404(b), the Brady/Giglio line of cases, the United States Department of Justice (“DOJ”)’s
        policy governing discovery, and the United States Attorney’s Office for the District of Columbia’s
        internal policy governing discovery, we request that you produce the following materials that are
        in the Government’s possession, custody, and control, and which we consider essential to the
        defense of our client in the above-referenced matter:

             (i)          Requests issued by DOJ or any law enforcement agency to any social media entity, to
                          include, but not be limited to, Facebook, Instagram, Twitter, YouTube, regarding
                          information relating to the events of January 6, 2021 at the United States Capitol;

             (ii)         Documents, reports, radio communications, videos, and photographs reflecting all
                          actions performed by Michael Angelo Riley (“Officer Riley”) during his employment
                          with the United States Capitol Police from January 6, 2021 until his retirement on
                          October 28, 2021;

             (iii)        Documents reflecting all law enforcement officers and officials who worked with or
                          supervised Officer Riley during his employment with the United States Capitol Police
                          from January 6, 2021 until his retirement on October 28, 2021; and

             (iv)         Documents received from any social media entity, to include, but not be limited to,
                          Facebook, Instagram, Twitter, YouTube, that reflects the removal of content (by any
                          person or entity) relating to the events of January 6, 2021 at the United States Capitol.

               In our review of the discovery provided to date, we have not been able to locate any
        cooperation plea paperwork relating to Jacob Hiles. If Mr. Hiles is not a cooperator, can you please
        explain the basis for your relation of the present matter to Mr. Hiles’ matter — resulting in the
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 2 of 17

Page 2

assignment of the case to Judge Amy Berman Jackson — when Mr. Hiles’ Statement of Facts
underlying his entry of a guilty plea does not discuss Officer Riley or any actions underlying the
charges against Officer Riley. If Mr. Hiles is a cooperator (or witness to be called at any trial of
Officer Riley), please produce:

         (i)     Documents identifying any benefits provided to Mr. Hiles in exchange for any
                 testimony or future testimony against Officer Riley;

         (ii)    Statements made by Mr. Hiles to law enforcement or prosecutors in this matter, and
                 any notes or contemporaneous recordings of the statements made by Mr. Hiles to
                 law enforcement or the prosecutors in this matter;

         (iii)   Documents produced by the Government in discovery in United States v. Jacob
                 Hiles, 21-cr-0155-ABJ; and

         (iv)    Downloads and reports thereof arising from the electronic devices seized and
                 searched, as well as, social media accounts searched, in the investigation and
                 prosecution of Jacob Hiles.1

       In its Indictment, the Government alleges in Count I that Officer Riley on “January 7, 2021”
obstructed justice in regard to an “official proceeding.” See Indictment, ¶ 20 (D.E. 1). Please
provide any and all information regarding when and how the Government contends that the “official
proceeding” in this matter commenced.

       Please provide any and all communications between the person or persons with authority to
commence the “official proceeding” in this matter and other persons, who then took actions to begin
the work of the “official proceeding.”

      Please provide any and all communications which reflect the first time that Officer Riley
became a person whose actions would be investigated as part of the “official proceeding.”

       Please provide any and all communications which reflect the first time that Mr. Hiles
became a person whose actions would be investigated as part of the “official proceeding.”

       To the extent the Government contends that the “official proceeding” referenced in Count I
was an investigation opened by the Federal Bureau of Investigation (“FBI”), which is contrary to
years of DOJ precedent finding FBI investigations not to be official proceedings, please produce
documents identifying when the FBI investigation was opened, the FBI case number in the FBI’s
system assigned to the investigation, the individual who opened the investigation in the FBI system
and when. Please also produce any documents attesting to the FBI’s notification of the opening of

1
 Interestingly, while Mr. Hiles’ public docket (21-cr-0155-ABJ) does not contain the present status
of his case or his plea paperwork, which would be indicative of an individual cooperating with the
Government, Mr. Hiles’ plea paperwork otherwise appears on DOJ’s website relating to its January
6 related prosecutions. See https://www.justice.gov/usao-dc/defendants/hiles-jacob, last visited
November 22, 2021.
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 3 of 17

Page 3

its investigation to any other federal law enforcement entities, to include, but not be limited to, the
United States Capitol Police.

        To the extent the Government contends that the “official proceeding” referenced in Count I
was an open grand jury investigation, please produce documents relating to the opening of that
grand jury investigation by the relevant Assistant United States Attorney, the date and time the
grand jury investigation was opened, the grand jury number assigned to that investigation, a
transcript of the opening of the investigation (or oral recording) by the relevant Assistant United
States Attorney, and the overhead put on the screen for grand jurors during the opening of the
investigation. Please also produce documentation identifying what law enforcement entities were
advised as to the opening of the grand jury investigation, to include, but not be limited to, the United
States Capitol Police.

        Please provide any and all information regarding how the grand jury was charged with
regard to what was the “official proceeding” in this matter.

        Please provide any and all information regarding how the grand jury was charged with
regard to what connection there was between Officer Riley’s actions and the “official proceeding”
in this matter.

       Please provide any and all information regarding how the grand jury was charged with
regard to what connection there was between Mr. Hiles’ actions and the “official proceeding” in
this matter.

        During our review of discovery produced to date, it appears that the investigation into
Officer Riley was initiated by the United States Attorney’s Office and not the FBI. FBI agents who
interviewed Officer Riley advised him — while surreptitiously recording him — that he was being
investigated relating to his comments concerning Mr. Hiles’ Facebook posts because of his status
as a United States Capitol Police Officer. The agents further stated words to the effect that had he
been a “gardener,” he would not have been investigated. In light of these representations, we request
all communications by law enforcement officers and agents relating to this matter, to include, but
not be limited to, cell phone text messages and voicemail messages, emails, and instant messages
by FBI personnel through FBI’s direct messaging software. We also seek all communications sent
by officers and agents to any DOJ individual as it pertains to this case and subsequent initiation of
a criminal proceeding.

        Please provide any and all communications by employees of DOJ and the United States
Attorney’s Office for the District of Columbia that pertain to the decision to prosecute Officer Riley.
In particular, please provide any and all communications by employees of DOJ and the United
States Attorney’s Office for the District of Columbia that reference the term “views” or other similar
words, as they pertain to this matter.

       Please provide any and all communications by employees of DOJ and the United States
Attorney’s Office for the District of Columbia that pertain to any decision(s) to prosecute, or not to
prosecute, any other individual who took down social media posts, or advised another person to
take down social media posts, which posts may have reflected activity at the United States Capitol
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 4 of 17

Page 4

on January 6, 2021.

        Please provide any and all information as to what exactly was the “object” that Officer Riley
is alleged to have “knowingly corruptly persuade[d]” another “to alter, destroy, mutilate, and
conceal” as set forth in Count I.

         Please provide us a copy of the “object” referenced in Count I.

        Please provide any and all information regarding how the grand jury was charged with
regard to what was the “object” referenced in Count I.

        Please provide any and all information regarding how Mr. Hiles responded to the statement
of Officer Riley set forth in Paragraph 7 of the indictment (i.e. “Take down the part about being in
the building . . .”).

        Please provide any and all information concerning the Facebook post or post(s) that Officer
Riley is alleged to have asked Mr. Hiles to take down.

         Please provide us a copy of the “record, document, and other object” referenced in Count
II.

        Please provide any and all documents that reflect how the Government came into possession
of the “record, document, and other object” referenced in Count II.

        Please provide any and all information regarding how the grand jury was charged with
regard to what constituted the “record, document, and other object” referenced in Count II.

       In response to your inquiry on setting a trial date, we reiterate our position that we need full
discovery, including the information discussed above, before we can make an informed decision
about whether to take the case to trial. Given that our client is on release, has no criminal history,
committed no violent crime, and was doing sensitive law enforcement work for months after your
office was aware of the events at issue in this case, we trust that there is no urgency by the
Government in proceeding with an immediate trial in this matter, especially in light of the extensive
backlog of cases requiring trials for held defendants due to the Covid-19 pandemic.
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 5 of 17

Page 5

         We are happy to discuss all of these issues during our scheduled meeting on November 23,
2021.

                                       Sincerely,

                                       SILVERMAN THOMPSON SLUTKIN & WHITE LLC




                                       Andrew C. White, Esq.
                                       Christopher Macchiaroli, Esq.
                                       M. Evan Corcoran, Esq.

                                       Counsel for Michael Angelo Riley
Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 6 of 17
                 Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 7 of 17


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ATTORNEYS AT LAW



                                                                                            December 13, 2021

        VIA EMAIL
        Molly Gaston, Esq.
        Mary Dohrmann, Esq.
        United States Attorney’s Office
        555 4th Street, NW
        Washington, DC 20530

                 Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Counsel:

               We write in response to certain representations contained in your letter dated December 8,
        2021 and for clarification on the Government’s prosecution of Jacob Hiles (21-cr-155 (ABJ)).

                 As a preliminary matter, you advised us on December 1, 2021 (in writing) that we should
        obtain the Hiles sentencing memoranda through the “CM/ECF docket.” Those documents are no
        longer on the public docket and there is no reference to what occurred at Mr. Hiles’ sentencing on
        December 6, 2021. There is no public docket entry and Mr. Riley (and his counsel) were unable to
        observe Mr. Hiles’ sentencing through the public telephone line. During our meeting on November
        23, 2021, we inquired as to whether Mr. Hiles was a cooperator and you indicated that he was not.
        In the Government’s sentencing memoranda for Mr. Hiles, the Government advocated for a
        sentence of probation based on Mr. Hiles’ purported “exceptional cooperation.” Is Mr. Hiles a
        cooperator or not? Is this matter partially sealed or not, and why? What sentence did Mr. Hiles
        receive? We ask for a copy of all court filings relating to the partial sealing of this matter. In order
        for the Government to meet its discovery obligations, we also ask for a copy of the transcript from
        Mr. Hiles’ sentencing or an Order permitting us to obtain a copy of the sealed transcript and a copy
        of the Judgment & Commitment Order. We do not understand why the sentencing memoranda were
        initially publicly available (for Politico to publish an article about them) and then eventually placed
        under seal only when we asked you for copies of them. In fact, while initially inviting us to obtain
        the sentencing memoranda from the public docket on December 1, 2021, you are now claiming that
        you are “seeking leave to provide [us] with the sentencing memoranda,” apparently because they
        were placed under seal retroactively. The Government cannot seek to put the genie back in the
        bottle because it does not want to highlight the benefits provided to Mr. Hiles in his case.

               Again, we iterate our request for discovery produced in the Hiles matter, as it appears,
        contrary to your prior statement, Mr. Hiles was, and is, a Government cooperator. If the
        Government does not plan to call Mr. Hiles as a witness at any trial of Officer Riley, please advise
        us in writing by December 17, 2021.
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 8 of 17

Page 2



        Finally, please advise us when the “official proceeding” referenced in the Indictment
occurred. If you believe you are not required to provide us discovery on this fact, while at the same
time alleging that Officer Riley obstructed an official proceeding, we ask that you consult the
Appellate Section of your Office. If no special proceeding (i.e., grand jury investigation) was
commenced by January 7, 2021 — the date Count One of the Indictment allegedly occurred —
and/or no notice was provided to Officer Riley or the Capitol Police prior to that date, it is
impossible that Officer Riley knew of the official proceeding to allegedly obstruct it. Likewise, if
you are attempting to rely on Officer Riley’s experience as a law enforcement officer in that he
should have known that a grand jury had already (or was going to be) commenced as to Mr. Hiles,
we request the production of documents attesting to the long history of prior cases of unlawful entry
on U.S. Capitol grounds and the U.S. Supreme Court that have resulted in fines or at worst,
misdemeanor offenses, as was the case of Mr. Hiles, all of which are not the subject of grand jury
investigations (or “special proceedings”).

        We look forward to your response to these issues in advance of the status hearing that is
currently scheduled for January 14, 2021. As you can imagine, the ambiguity and lack of clarity on
these issues (and the apparently conflicting positions) prevents us from being able to evaluate the
accuracy of the Government’s representations in its proposed statement of facts underlying the
Government’s plea offer and to prepare for any potential trial in this matter.

                                        Sincerely,

                                        SILVERMAN THOMPSON SLUTKIN & WHITE LLC




                                        Andrew C. White, Esq.
                                        Christopher Macchiaroli, Esq.
                                        M. Evan Corcoran, Esq.

                                        Counsel for Michael Angelo Riley
                 Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 9 of 17


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ATTORNEYS AT LAW



                                                                                                          May 9, 2022

        VIA EMAIL
        Molly Gaston, Esq.
        Mary Dohrmann, Esq.
        United States Attorney’s Office
        555 4th Street, NW
        Washington, DC 20530

                 Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Counsel:

               We write to follow up regarding the timeline of the Government’s expected production of
        additional discovery pursuant to the Court’s Order on the Defendant’s Motion to Compel
        Discovery.

                Specifically, the Government was required to produce: (i) “records showing the date any
        grand jury that is the subject of Count One was empaneled as well as any records, if any, showing
        when the U.S. Capitol Police was notified that such a grand jury had been convened;” (ii) documents
        “that reflect offers or promises made, including informal communications among counsel” relating
        to the Government’s cooperator Jacob Hiles; and (iii) “downloads and reports arising from all
        electronic devices and social media accounts seized and searched” from Mr. Hiles as it pertains to
        “any material discovered on those devices or accounts that mentioned or related to the defendant in
        any way.”

                In its Order, the Court also noted that if the “defendant seeks video evidence of his activities
        at specific locations at the Capitol on January 6, the government must make the video evidence in
        its possession available.” Consistent with the Court’s Order, Officer Riley requests the following
        video and/or radio communications from January 6, 2021 at the United States Capitol and
        surrounding areas as described below:


           Approximate Time            Approximate Location                           Actions by Officer Riley
           of Commencement
          12:45 p.m.                300 Block of First Street, SE &              Responding to pipe bomb incident;
                                    New Jersey Avenue/C Street,                  search of vehicles with K-9; and
                                    SE                                           securing the area.
          3:00 p.m.                 Senate Subway                                Responding to assist downed officer
                                                                                 (Ofc. Chow).
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 10 of 17

Page 2

 6:00 p.m.                East Front of U.S. Capitol        Securing east front of the U.S.
                                                            Capitol; and searching for potential
                                                            explosives.

        Finally, Officer Riley requests confirmation that the Government advised the grand jury that
it could not rely on a Federal Bureau of Investigation or United States Capitol Police investigation
when evaluating whether Officer Riley obstructed an “official proceeding” as charged in the
Indictment in this matter.

                                       Sincerely,

                                       SILVERMAN THOMPSON SLUTKIN & WHITE LLC




                                       Andrew C. White, Esq.
                                       Christopher Macchiaroli, Esq.
                                       M. Evan Corcoran, Esq.

                                       Counsel for Michael Angelo Riley
                Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 11 of 17


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ATTORNEYS AT LAW



                                                                                                         May 19, 2022

        VIA EMAIL
        Molly Gaston, Esq.
        Mary Dohrmann, Esq.
        United States Attorney’s Office
        601 D Street, NW
        Washington, DC 20001

                 Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Counsel:

                 We write in response to your letter dated May 13, 2022.

               First, at your request, we are providing you additional information relating to our client
        Michael Riley’s actions on January 6, 2021 so that you can provide us the requested video in
        accordance with your discovery obligations and the Court’s May 1, 2022 Order.

           Approximate Time            Approximate Location                           Actions by Officer Riley
           of Commencement
          12:45 p.m.                300 Block of First Street, SE                Responding to pipe bomb incident;
                                    & New Jersey Avenue/C                        search of vehicles with K-9; and
                                    Street, SE                                   securing the area.

                 As you know, on January 6, 2021, at approximately 12:45 p.m., Officer Riley was the first
        responding officer to the pipe bomb incidents located near the U.S. Capitol and communicated his
        initial observations on United States Capitol Police (“USCP”) radio. He is an essential witness to
        the investigation of those events and any subsequent prosecution of the perpetrator(s). A map of the
        respective locations prepared by the Federal Bureau of Investigation (“FBI”) is enclosed below for
        ease of reference. See https://www.fbi.gov/contact-us/field-offices/washingtondc/news/press-
        releases/fbi-washington-field-office-releases-video-and-additional-information-regarding-the-
        pipe-bomb-investigation-090821, last visited May 19, 2022.

                The initial location was the 300 Block of First Street, SE. Please be advised that there is a
        camera on the Cannon Building that looks toward the Capitol South Metro Station. Officer Riley
        moved his car to the intersection of First and D Streets, SE and subsequently to New Jersey and D
        Streets, SE, to respond to the second location. Both intersections have surveillance video.
        The bomb squad was set up at First and C Streets, SE. Officer Riley briefed the bomb squad on
        exactly where a device was located and what it looked like. A command post was set up at New
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 12 of 17

Page 2

Jersey and D Streets, SE and Officer Riley parked his cruiser at that location and used his K9 to
sweep vehicles in the area. Officer Riley undertook these actions for several hours. On this day,
Officer Riley’s unit number was “179K.”




        Pursuant to the joint FBI/USCP investigation that is referenced in the Indictment, it is
believed that law enforcement obtained video footage from cameras identifying the above-
referenced locations, which would have depicted Officer Riley’s actions on January 6, 2021. Please
timely produce this requested video. Contrary to the statement in your letter and as shown in the
enclosed map, all of the above-referenced locations are part of the United States Capitol Complex.
See https://en.wikipedia.org/wiki/United_States_Capitol_Complex, last visited May 19, 2022.
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 13 of 17

Page 3

        If the Government intends to withhold this video because it incorrectly believes that Officer
Riley’s actions as a USCP officer were not on U.S. Capitol grounds when responding to a violent
act to public safety, i.e., pipe bombs, please let us know so that we can seek appropriate relief from
the Court.

  Approximate Time            Approximate Location                  Actions by Officer Riley
  of Commencement
 3:00 p.m.                 Senate Subway                     Responding to assist downed officer
                                                             (Ofc. Chow).

        While an USCP officer, Officer Riley was a trained emergency medical technician. On
January 6, 2021, upon hearing radio traffic that an officer was unresponsive, Officer Riley left his
post, drove to the C Street Door at the Hart Senate Building, followed a tactical unit that was
entering at that location at that time, and traveled to the United States Senate Subway (in the Dirksen
building) to assist an unconscious USCP officer. Both the C Street Door at the Hart Senate Building
and the Dirksen Senate Subway have cameras. Officer Riley was informed that the unresponsive
officer was named Chow. Without access to any records or the ability to communicate with former
coworkers, Officer Riley’s best estimate is that this event occurred at approximately 3:00 p.m.
Officer Riley had not prior dealings with the downed officer prior to January 6, 2021. Officer Riley
was prepared to transport him in his cruiser to a local hospital given that D.C. Fire and EMS was
having difficulty in responding to the Senate Subway. Eventually, Officer Riley was able to direct
D.C. Fire and EMS to Officer Chow. In subsequent months, Officer Riley heard that Officer Chow
had suffered a head related injury and was out of work for some time. There were several unknown
Metropolitan Police Department (“MPD”) officers on scene and two USCP officers: Officer Karen
Clay and Officer Craig Gallope.

        Given this very detailed information, I trust you will be able to provide video depicting the
actions of Officer Riley at the above-referenced locations.

  Approximate Time            Approximate Location                  Actions by Officer Riley
  of Commencement
 6:00 p.m.                 East Front of U.S. Capitol        Securing east front of the U.S.
                                                             Capitol; and searching for potential
                                                             explosives.

       In response to your request, please provide any and all surveillance video depicting Officer
Riley and K-9 vehicles deployed at the East Front of the United States Capitol at approximately
6:00 p.m. on January 6, 2021.

        Second, we seek clarification on the disclosures in your May 13, 2022 letter. Specifically,
when was the grand jury that you assert constitutes the “official proceeding” referenced in the
Indictment advised that they would be considering charges relating to the events of January 6, 2021
at the U.S. Capitol. Also, what relevance, if any, was your production of an Indictment returned on
January 29, 2021 by a grand jury empaneled on January 8, 2021, if the first Indictments returned
by that empaneled grand jury occurred on January 11, 2021. See, e.g., United States v. Mark
Jefferson Leffingwell, 21-cr-5-ABJ (D.E. 6) (Indictment - January 11, 2021).
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 14 of 17

Page 4



       Finally, again, we reiterate our previous request from our May 9, 2022 letter that the
Government advise whether it instructed the grand jury (that you assert constitutes the “official
proceeding” referenced in the Indictment) that it could not rely on an FBI or USCP investigation
when evaluating whether Officer Riley obstructed an “official proceeding” as charged in the
Indictment.

         As always, please feel free to contact us regarding any of these requests.

                                         Sincerely,

                                         SILVERMAN THOMPSON SLUTKIN & WHITE LLC



                                         Andrew C. White, Esq.
                                         Christopher Macchiaroli, Esq.
                                         M. Evan Corcoran, Esq.
                Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 15 of 17


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ATTORNEYS AT LAW



                                                                                                  July 14, 2022
        VIA EMAIL
        Molly Gaston, Esq.
        Mary Dohrmann, Esq.
        United States Attorney’s Office
        601 D Street, NW
        Washington, DC 20001

                 Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Counsel:

                 We write in response to your letter dated July 13, 2022.

                Yes, Officer Riley and I would like to review the video referenced in your letter on the
        morning of either July 20 or July 21, 2022. Please let us know when and where we should report
        and for whom we should ask for upon arrival. As you can imagine, since Officer Riley was at the
        location, his assistance in identifying himself is essential to the defense when reviewing the video.

                Just to avoid any unnecessary delay on this issue, please be advised that it was Officer Riley
        who made contact with the individual who reported the explosive device at the Republic National
        Committee, received the photograph of the device as taken by that security official, and
        subsequently transferred that photograph to other USCP officers and officials while briefing USCP
        on the radio. Hopefully, this additional information can allow you to locate appropriate video in the
        Government and FBI’s possession, even if outside the estimated timetables that you requested from
        undersigned counsel.

                 As always, please feel free to contact us regarding the information contained in this letter.

                                                    Sincerely,

                                                    SILVERMAN THOMPSON SLUTKIN & WHITE LLC



                                                    Andrew C. White, Esq.
                                                    Christopher Macchiaroli, Esq.
                                                    M. Evan Corcoran, Esq.
                 Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 16 of 17


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ATTORNEYS AT LAW



                                                                                                April 27, 2023
        VIA EMAIL
        Christopher Howland, Esq.
        United States Attorney’s Office
        601 D Street, NW
        Washington, DC 20001

                 Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Counsel:

                In preparation for Officer Riley’s appeal, it appears that certain discovery was not produced
        as required under applicable discovery rules and consistent with the Government’s constitutional
        obligations, especially, given the issues that arose in the Government’s presentation of evidence at
        trial.

                 Accordingly, on behalf of Officer Riley, we request the following items:

             •   memoranda relating to the existence of the grand jury charged in the Indictment that could
                 not be located at the time the Government sought judicial notice from the Court (see Oct.
                 20, 2022 Tr. 102-103);

             •   documents relating to the FBI’s receipt of a screenshot of Jacob Hiles’ Post taken on January
                 7, 2021 (which was the subject of Count One of the Indictment) prior to Officer Riley’s
                 initial communication with Mr. Hiles, including FBI Special Agent (“SA”) Charles
                 Neilsen’s ‘notes” on the subject and other FBI memoranda documenting the receipt of the
                 Post (see Oct. 21, 2022 Tr. 24-28);

             •   memoranda and directives issued to prosecutors in this case by Congress relating to the
                 necessity of investigating connections between January 6, 2021 protestors and individuals
                 at the United States Capitol;

             •   unredacted correspondence between the Capitol Police General Counsel’s Office (which
                 identified itself as part of the “prosecution team”) and prosecutors in this case, which were
                 initially redacted based on a claim that the redacted text was administrative and “not
                 substantive;” and

             •   instructions given to the grand jury that returned the Indictment as to Officer Riley as to the
                 elements of the offenses, specifically, the requirement of a nexus between Officer Riley’s
                 alleged conduct and a foreseeable grand jury proceeding.
         Case 1:21-cr-00628-ABJ Document 110-1 Filed 04/27/23 Page 17 of 17

Page 2



         Finally, there appears to have been no attempt by the Government to review the FBI Lync
messaging system for FBI agents to ensure the production of Rule 16 discovery and Jencks relevant
to this case. As SA Hart was proffered as one of the leading agents relating to the investigation of
January 6, 2021, the scope of the production of his messages to the defense should have been
significant. Likewise, discovery pertaining to this case should exist in Lync messages sent or
received by SAs Hart, Neilsen, and Brandon Merriman, among other FBI agents.

         As always, please feel free to contact us regarding the information contained in this letter.

                                          Sincerely,

                                          SILVERMAN THOMPSON SLUTKIN & WHITE LLC



                                          Christopher Macchiaroli, Esq.
                                          Emma Mulford, Esq.
